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 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          No. 1:07-cr-00016-AWI-4

12                     Plaintiff,                       UNOPPOSED REQUEST TO EXTEND
                                                        DEADLINE FOR FILING RESPONSE;
13          v.                                          ORDER

14   JESUS GONZALEZ PEREZ,

15                     Defendant.                       Judge: Honorable ANTHONY W. ISHII

16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17   hereby requests that the deadline for filing a response to the Court’s March 10, 2015 order be
18   extended to May 9, 2015. The undersigned is awaiting response from Mr. Perez. Counsel for the
19   government, Assistant U.S. Attorney Kathleen A. Servatius, graciously indicated that she has no
20   objection.
21   Dated: April 13, 2015
22                                                       Respectfully submitted,
23                                                       HEATHER E. WILLIAMS
                                                         Federal Defender
24

25                                                       /s/ David M. Porter
                                                         DAVID M. PORTER
26                                                       Assistant Federal Defender
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 1
                                                 ORDER
 2
            Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered
 3
     that the response to the Court’s order of March 10, 2015, may be filed on or before May 9, 2015.
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 5   IT IS SO ORDERED.
 6   Dated: April 13, 2015
 7                                              SENIOR DISTRICT JUDGE

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